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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             WESTERN DIVISION

Patrick Pursley,                                 )
                                                 )
                      Plaintiff,                 )       Case No: 18 CV 50040
                                                 )
       vs.                                       )       Judge Philip G. Reinhard
                                                 )
City Of Rockford, Illinios, et al.               )       Magistrate Lisa Jensen
                                                 )
                      Defendants.                )

   CITY’S NOTICE IDENTIFYING SPECIAL REPRESENTATIVES FOR DECEASED
  DEFENDANTS HOWARD FORRESTER, GARY REFFETT, AND DAVID EKEDAHL

       Defendant, City of Rockford, Illinois; by its counsel, pursuant to this court’s minute

order of June 6, 2019, and for a notice identifying Special Representative(s) for deceased

Defendants Howard Forester, Gary Reffett, and David Ekedahl state as follows:

       1.     The City of Rockford identifies the City Administrator, City of

Rockford, Illinois, as special representative for deceased Defendants Howard

Forester, Gary Reffett, and David Ekedahl.



Date: June 10, 2019                       Respectfully submitted

                                          Defendant, City of Rockford, Illinois, by
                                          its attorneys,
                                          City Of Rockford Department Of Law

                                           /s/ Ifeanyichukwu C. Mogbana
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